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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF ALABAMA
                                  SOUTHERN DIVISION




ARTHUR LEE MACK,                          :

        Plaintiff,                        :
vs.                                            CA 04-0813-BH-C
                                          :
JO ANNE B. BARNHART,
Commissioner of Social Security,          :

        Defendant.

                                              JUDGMENT

        In accordance with the order entered on this date, it is hereby ORDERED,

ADJUDGED, and DECREED that the decision of the Commissioner of Social Security

denying plaintiff benefits be affirmed.

        DONE this 28th day of November, 2005.


                                                          s/ W. B. Hand
                                                     SENIOR DISTRICT JUDGE
